Case 1:11-cv-01226-RHB ECF No. 51-4, PagelD.820 Filed 01/16/12

Account Detail: IOLTA ACCOUNT

The account information displayed is updated each morning after all transactions from
the previous day have been processed.

Account Information Profile Transaction Detaii Filter Transactions

Account information Profile

Account Alias IOLTA ACCOUNT
Amount Last Interest Payment Sa
Amount of Credits Memo Posted $0.00
Amount of Debits Memo Posted $0.00
Amount on Hald $0.00
Available Balance Squai
Current Balance 5S eee
Current Interest Rate 0.25%
Effective Date 1/12/2012
Interest Accrued no Paid Sav
Interest Accrued on Account Sa

Interest Paid Last Year 5s
Interest Patd on Account $0.00

Last Statement Balance 5a:
Last Statement Drop Date 12/31/2011
Number Credits Since Statement 1

Number Debits Since Statement 6

Original Interest Rate 0.250

Transaction Detail
Display Running Balance

Transaction Type/

Page 1of1
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Date Descriotion Number Amount
Debits Credits

1/28/2011 & Deposit 0 $150,000.00
1/28/2011 ACH Debit a,

internet banking transfer to checking 3000221
1/28/2011 #4 Check 2166 a

Check number 0000000002166

Filter Selection Criteria
Enter filter criteria to view other account detail.

Aecount OLTA ACCOUNT ne.
Date Range From: 01/28/2011 | (mm/dd/yyyy) To: :01/28/2011

Amount Range From:

https://server29.cey-ebanking.co

To:

ae

B

ww 7/Site/account-detail-m.asp?AcctIn...

1/13/2012
